                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 JOHNNY M. HUNT,                                     Case No. 3:23-cv-00243
                                                     Judge Campbell
                       Plaintiff,                    Magistrate Judge Frensley
      v.
 SOUTHERN BAPTIST CONVENTION;
 GUIDEPOST SOLUTIONS LLC; and
 EXECUTIVE COMMITTEE OF THE
 SOUTHERN BAPTIST CONVENTION,

                       Defendants.

                       JOINT DISCOVERY DISPUTE STATEMENT

       Pursuant to Section G of the Case Management Order (Doc. 37) and Local Rules 7.01 and

37.01, Defendant, Guidepost Solutions LLC (“Guidepost”) and Plaintiff Johnny M. Hunt (“Hunt”)

submit this Joint Discovery Dispute Statement (“Statement”) regarding Hunt’s production of

documents pursuant to Guidepost’s First Request for the Production of Documents and

Guidepost’s Second Request for the Production of Documents. The parties certify that counsel for

Plaintiff and Guidepost conducted a meet and confer via Zoom on January 30, 2024, at which time

lead counsel for both Guidepost and Hunt were present. Subsequent efforts to follow up via email

on issues raised in the meet and confer were unsuccessful. Guidepost and Hunt have made a good

faith effort to resolve the dispute between them, but they have not been able to reach an agreement.

I.     Specific Areas of Dispute

       A.      Plaintiff’s Text Messages and Phone Records

               1. Guidepost’s Position: Hunt’s Failure to Produce Any Text Messages or
               Phone Records and Admission that Such Communications and Emails Have
               Been Deleted.




                                                 1

Case 3:23-cv-00243        Document 119         Filed 02/09/24      Page 1 of 16 PageID #: 1562
        This action arises out of Guidepost’s submission to the Southern Baptist Convention

(“SBC”) of its Report of the Independent Investigation concerning the sexual abuse crisis within

the SBC (the “Report”). Guidepost served two (2) sets of document requests and interrogatories in

this action. The first set was served on August 17, 2023. Hunt served responses and objection on

September 18, 2023. (Hunt’s responses and objections to the first set of document requests and

interrogatories are attached to this Joint Discovery Dispute Statement as Exhibit A and Exhibit B,

respectively.) Guidepost’s counsel served a deficiency letter in response to Hunt’s objections on

November 13, 2023, to which they did not receive a response. 1

        Both the Report and Hunt’s responses to Guidepost’s First Set of Interrogatories made clear

that Hunt communicated with his accuser and her husband (and likely with many or all of the other

relevant witnesses) by text messaging, but his document production conspicuously lacked any text

messages. In response to the absence of text messages and other outstanding deficiencies in Hunt’s

response to Guidepost’s discovery requests, Guidepost wrote a follow-up deficiency letter dated

January 8, 2024. (Exhibit D.) Hunt’s counsel responded by letter dated January 15, 2024 (Exhibit

E) in which he stated, “Plaintiff reiterates that as a general practice, prior to the filing of this action,

Plaintiff did not retain emails and text messages.” 2 Hunt’s counsel took a similar position in

correspondence with counsel for Defendant Executive Committee (“EC”). (Exhibit F.)



        1
                In the meantime, due to concerns that Hunt may have falsely claimed to be a Florida
domiciliary (and thus contrived diversity jurisdiction), Guidepost served a second set of document
requests and interrogatories seeking information regarding Hunt’s domicile on November 20,
2023. Hunt served responses and objections on December 20, 2023. (Hunt’s responses and
objections to the second set of document requests are attached as Exhibit C.) This issue is described
in Section G, below.
        2
                Hunt was under a duty to preserve documents as early as a year before filing this
action, following his prior counsel’s threats of imminent litigation against Guidepost and its
investigator in May 2022. (Exhibit G, H.)

                                                     2

Case 3:23-cv-00243          Document 119          Filed 02/09/24        Page 2 of 16 PageID #: 1563
        Guidepost intends to move this Court to direct Hunt to turn his phone over to an IT

professional to attempt to retrieve any deleted communications with each of the witnesses

identified in his initial disclosures and (if necessary) obtain such documents from the cloud and

supplement his production accordingly. Hunt should be required to arrange for such IT personnel

to report to counsel and the Court regarding the success (or not) of such efforts and, in the event

Hunt is unable to do so, schedule a hearing for the purpose of assessing spoliation sanctions against

Hunt. Guidepost’s proposed motion will also cover all of Hunt’s email communications that pre-

date the filing of the Complaint and a forensic analysis of his email accounts and hard drive as

well.

        2.       Plaintiff’s Response: Pastor Johnny did not retain decades-old text messages
                 with the Complainant or her husband; nor does he have the phone that he was
                 using in 2010. Neither fact is surprising, and neither fact justifies a “forensic”
                 exam.

        Guidepost is intentionally seeking to mislead this Court and to inoculate itself from its own

discovery abuses 3 by falsely accusing Plaintiff Johnny Hunt of having engaged in discovery

misconduct. Guidepost’s misleading efforts are beyond cynical, and they will not work.

        As a preliminary matter, there is no reasonable, objective basis for Guidepost’s suggestion

that Pastor Johnny may have destroyed relevant emails or text messages after issuance of the

Report. Pastor Johnny’s counsel has explained to Guidepost’s counsel that Pastor Johnny did not

have any substantive written communications with anyone about the 2010 Florida encounter with

the Complainant. Thus, it is not at all surprising that no such written communications, whether by

text or email, were in Pastor Johnny’s document production. Such written communications never

existed; they were not destroyed.



3
 Guidepost’s discovery abuses are subject to a pending Motion to Compel that is now fully briefed. Doc. Nos. 109,
115, 118.

                                                        3

Case 3:23-cv-00243            Document 119           Filed 02/09/24         Page 3 of 16 PageID #: 1564
       Guidepost tries to create a different impression by stating that “[b]oth the Report and

Hunt’s responses to Guidepost’s First Set of Interrogatories made clear that Hunt communicated

with his accuser and her husband (and likely with many or all of the other relevant witnesses) by

text messaging . . . .” This assertion is highly misleading. First, it is true that Pastor Johnny

sporadically engaged in text messaging with the accuser and her husband in and around 2010,

when the encounter occurred. But that was almost 12 years before the Report was issued that

contained the false allegations against Pastor Johnny. As has been explained to Guidepost’s

counsel, Pastor Johnny did not retain these old text messages, and he does not even use the same

phone. Pastor Johnny has not had any written communications with the accuser or her husband for

many years on any topic; and he has never had written communications with them relating to the

substantive accusations that are contained in the Report. A “forensic” examination of his current

phone would not change these facts.

       Second, Guidepost does not even attempt to offer any support for its assertion that Pastor

Johnny should also be required to complete a “forensic” analysis of his hard drive and emails. And

for good reason—there is no reasonable, objective basis for requiring either. As Guidepost’s

counsel knows, Pastor Johnny does not have access to any email account that he used prior to

issuance of the Report in 2022. From 2010 through 2019, Pastor Johnny worked at the First Baptist

Church of Woodstock and used an email account provided by the church. From 2019 through

2022, Pastor Johnny used an email address provided by the North American Mission Board (an

entity affiliated with Defendant SBC). Pastor Johnny does not have access to either email address

now.




                                                4

Case 3:23-cv-00243        Document 119        Filed 02/09/24     Page 4 of 16 PageID #: 1565
       As for his current email address, Pastor Johnny has already used an e-discovery vendor to

collect and search his emails, and any responsive emails have been produced. There is no basis for

ordering anything more.

       At root, Guidepost’s misleading allegations of “spoliation” are an attempt to inoculate itself

from its own discovery misconduct. As is set forth in Pastor Johnny’s Motion to Compel and

accompanying Memorandum in Support (Doc. Nos. 106, 107), it is Guidepost and its investigators

– not Pastor Johnny – who appear to have destroyed relevant communications. Indeed, at a

deposition just last week, one of the lead investigators for Guidepost admitted under oath that he

had routinely deleted text messages during the investigation at issue. This same investigator also

admitted that the Complainant’s husband had specifically asked him to destroy documents

provided to Guidepost during the investigation, a request that was memorialized in a text message.

       On this record, there is no basis for ordering any relief against Plaintiff. Guidepost should

proceed with the deposition of Pastor Johnny, at which time Guidepost can ask him questions

about his communications and record-keeping habits. If Guidepost believes such testimony

justifies further relief, it can seek such relief at that time. But Guidepost’s current request that

Pastor Johnny be required to conduct a forensic examination for text messages and emails should

be denied.

       B.      Documents Identified in Plaintiff’s Initial Disclosures

       1. Guidepost’s Position: Hunt’s Failure to Produce Documents He Admitted in His
          Initial Disclosures Are in His Possession.

       In addition to Hunt’s destruction and complete failure to retrieve and produce text messages

and emails during critical periods in this action, Hunt has failed to produce documents that he

stated he possessed in his Rule 26 initial disclosures, including communications from the SBC

and/or the EC to churches where Hunt was scheduled to speak and documents relating to the SBC’s

                                                 5

Case 3:23-cv-00243        Document 119         Filed 02/09/24      Page 5 of 16 PageID #: 1566
and/or the EC’s structure. Hunt’s counsel has maintained that he has not withheld documents

identified in his initial disclosures and that “the identified categories of documents currently-

known to Plaintiff that may be used to support his claims have been produced by Plaintiff, third

parties, and Defendants.” (See Exhibit E.) But it is not an answer to say that third parties have

produced documents that Hunt had already disclosed he had in his possession (only to have them

conspicuously absent from his own production). Guidepost is concerned that Hunt is withholding

other documents.

        Hunt’s deposition has not yet taken place. To avoid prejudice at the deposition, Guidepost

respectfully asks the Court to compel Hunt to provide a satisfactory explanation for failing to

produce the missing documents, inasmuch as he had originally said he possessed them.

        2. Plaintiff’s Response: Pastor Johnny is not withholding any documents identified
           in his initial disclosures.

        Again, Guidepost is attempting to mislead this Court. As Pastor Johnny’s counsel has

repeatedly explained, Pastor Johnny has produced all documents in his possession, custody or

control that were described in his Initial Disclosures.

        Guidepost appears to be confused by the fact that Pastor Johnny included in his disclosures

certain categories of documents that he anticipated would be produced by other parties in the

litigation and that he might then rely upon in proving his claims. For example, Pastor Johnny

included the category “[a]ny document produced during discovery in this case . . . .” He also

included “[e]xpert reports” and “[d]eposition transcripts.” Clearly, these are documents that were

not yet in his possession, custody or control that he anticipated would be produced later and that

he would rely upon.

        At this time, Pastor Johnny is not withholding any documents within his possession,

custody or control that are listed on his initial disclosures.

                                                   6

Case 3:23-cv-00243          Document 119         Filed 02/09/24   Page 6 of 16 PageID #: 1567
       C.      Metadata

       1.      Guidepost’s Position: Hunt’s Production is Suspect Due to the Absence of
               Metadata and/or Missing Related Emails.

       Upon review of Hunt’s document production, Guidepost discovered that the production is

missing metadata. Some documents produced by Hunt do not include any metadata, including, but

not limited to HUNT_0000471 and HUNT_001780. HUNT_0001780, in particular, is an email

from the Johnny Hunt Ministries gmail account to counsel, but the preceding email was not sent

to Johnny Hunt Ministries gmail address. As such, the metadata was either not provided to show

the bcc to Johnny Hunt Ministries gmail address or Hunt deliberately withheld documents if he

was not bcc’d on that correspondence. (Exhibit I.)

       Additionally, HUNT_0002759 has an improper redaction. The second redaction in the

attached document is between Hunt and his assistant, Kerry. The redaction does not appear on the

privilege log produced by Hunt, nor is there any basis for redacting communications between Hunt

and his assistant. (See Exhibit J.)

       While these discrepancies were brought up during the meet and confer process, Hunt’s

counsel failed to respond to Guidepost’s concerns. These discrepancies only raise further questions

regarding the integrity of Hunt’s production and Hunt should be compelled to explain them.

       2.      Plaintiff’s Response: This issue is moot.

       This issue is moot. Plaintiff will provide any metadata that he has for the documents

identified. He will also produce an unredacted copy of HUNT_0002759.

       D.      Privilege Log

       1.      Guidepost’s Position: Hunt Must Supplement His Privilege Log to Account
               for Documents Exchanged With Counsel Prior to the Filing of the
               Complaint.




                                                7

Case 3:23-cv-00243         Document 119       Filed 02/09/24      Page 7 of 16 PageID #: 1568
       Although Hunt has supplied a privilege log, Hunt’s counsel have taken the position that he

has no obligation to create a privilege log for all communications between Hunt and his counsel

prior to filing this action. When challenged on the point, Hunt’s counsel cited Administrative Order

174-1, 8b which states that “[n]o log is required for privileged documents created after the filing

of the Complaint” (emphasis added) but says nothing of document preceding the filing of the

Complaint. (Exhibit E.)

       Only a privilege log can show whether a claimed privilege has been waived. See Exhibit

K (Hunt’s counsel’s communication with the alleged survivor’s husband). The Court should

require Hunt’s counsel to supplement their privilege log.

       2.      Plaintiff’s Response: Pastor Johnny has notified Guidepost that he has
               withheld privileged attorney-client and work product communications with
               his trial counsel. Not additional information should be required.

       Pastor Johnny has provided a redaction log and explained that there is no requirement under

Administrative Order 174-1 “to include on privilege logs any document generated after the filing

of the complaint.” To avoid unnecessary and wasteful effort, the log does not include

communications between Pastor Johnny and his trial counsel in this matter before the filing of the

lawsuit. Such communications are routinely identified by category and exempted from a

document-by-document listing on a privilege log. See, e.g., SEC v. Nacchio, 2007 U.S. Dist.

LEXIS 5435, at *32 (D. Colo. Jan. 24, 2007) (adopting test stated in SEC v. Thrasher, 1996 U.S.

Dist. LEXIS 3327 (S.D.N.Y. 1996), which rejected demand for document-by-document privilege

log where defendants had not explained how a categorical log impaired their ability to test claim

for work product protection).

       Here, Pastor Johnny and his counsel have withheld from production routine

correspondence between Pastor Johnny and counsel relating to his engagement of counsel,


                                                 8

Case 3:23-cv-00243        Document 119         Filed 02/09/24     Page 8 of 16 PageID #: 1569
counsel’s pre-filing investigation of Pastor Johnny’s allegations, and other similar

communications leading up to the filing of the Complaint. Such communications are obviously

privileged and work product. There is no need to list them on a document-by-document basis.

Pastor Johnny’s categorical assertion of privilege and work product for these documents is proper,

and Guidepost’s suggestion that a document-by-document log is necessary is incorrect.

Guidepost’s request for an order requiring Pastor Hunt to supplement his log should be denied.

       E.      Evidence Relating to Injury and Damages

       1.      Guidepost’s Position: Hunt is Withholding Evidence Concerning his Claims
               for Emotional Injury and Monetary Damages.

       Hunt has placed emotional injury at issue in this case. Guidepost therefore requested

records of Hunt’s medical care, diagnosis, and prescriptions. (Exhibit A, Requests No. 12 and 67.)

Hunt objected and has not produced such documents. During the January 30 “meet and confer”

call, Hunt’s counsel attempted to take the position that his client is not seeking damages related to

expenses of his medical care, and thus the question of medical records was, by counsel’s logic, off

the table. However, Plaintiff’s Amended Statement of Damages, served on January 9, 2024,

calculates a range of damages in the amount of $30,000,000 to $45,000,000 for emotional injury.

Guidepost intends to move to compel disclosure of his medical treatment.

       Hunt has also put economic losses at issue but has not updated his disclosure regarding

speaking engagements since January 4, 2023 (over a year ago). (Exhibit L, M.) Hunt’s amended

damages statement calculate losses of “not less than $3,850,000” for lost speaking engagements.

Guidepost intends to move to compel Hunt to update his discovery responses accordingly.

       2. Plaintiff’s Position: This issue is moot.

       Pastor Johnny is not withholding any documents responsive to his emotional or monetary

damages. Thus, it is not clear what Guidepost is seeking in this section.

                                                 9

Case 3:23-cv-00243         Document 119        Filed 02/09/24      Page 9 of 16 PageID #: 1570
        F.     Restoration-related Documents

        1.     Guidepost’s Position: Hunt Appears to Have Withheld Documents
               Concerning His “Restoration” to the Ministry.

        Hunt quickly returned to the pulpit after the SBC Task Force published the Report,

following a “restoration” process overseen by four sympathetic Southern Baptist clergypersons

through the auspices of his new church, Hiland Park Baptist Church in Panama City, Florida.

Because the “restoration” process would not be necessary but for the need to address Hunt’s

“consensual” affair with (or sexual abuse of) the alleged survivor, his rehabilitation process

necessarily would involve disclosure to the clergy involved of the circumstances and extent of his

culpability. In response to Guidepost’s First Request for the Production of Documents (No. 71),

Hunt has produced only two communications with the Hiland Park pastor, Steven Kyle, and has

not produced any communications with the other three participants. It is implausible that Hunt

does not have any communications with the individuals that allegedly “restored” him to the pulpit.

        2.     Plaintiff’s Position: This issue is moot.

        Pastor Johnny is not withholding any documents related to his restoration. This issue is

moot.

        G.     Credit Card Statements and Travel-related Documents

        1.     Guidepost’s Position: Hunt Must Respond to Guidepost’s Requests for
               Jurisdictional Discovery (Guidepost’s Second Request for the Production of
               Documents, No. 4 and 9).

        Based in part on publicly filed disclosures, and upon Hunt’s maintenance of residences in

both Georgia and Florida, Guidepost has reason to doubt that Hunt’s domicile is still in Georgia

(the same as Defendant SBC) and that diversity jurisdiction is absent in this action. Guidepost

therefore served a second set of discovery requests. (Exhibit C.) Hunt produced some self-serving

documents purporting to show that he intended to relocate to Florida before filing the instant


                                               10

Case 3:23-cv-00243       Document 119        Filed 02/09/24     Page 10 of 16 PageID #: 1571
action, but has resisted disclosure of his travel-related records and credit card statements (Requests

No. 4 and 9), which would shed light on where he was during the time he supposedly was changing

his domicile from Georgia to Florida.

       At the conclusion of the January 30, 2024 “meet and confer” call, Hunt’s counsel undertook

to contact Guidepost’s counsel by the end of business on February 2, 2024, as to whether he would

withdraw his objections and produce the requested documents but did not. After a follow-up email

on February 5, 2024, the issue remains unresolved. Guidepost therefore intends to move to compel

jurisdictional discovery.

       2.      Plaintiff’s Position: Plaintiff has produced documents directly relevant to his
               Florida domicile. Pastor Johnny’s credit card statements are irrelevant to
               this inquiry, and allowing Guidepost to fish through them would be highly
               invasive.

       In a desperate attempt to avoid this Court’s jurisdiction, Guidepost has accused Pastor

Johnny of an elaborate ruse to falsify his domicile. There is no objective basis for Guidepost’s

accusations, and Guidepost’s attempt to engage in a fishing expedition by inspecting Pastor

Johnny’s credit card bills and spending habits should be denied.

       This Court has diversity jurisdiction over this matter because Pastor Johnny is a citizen of

Florida and the Defendants are not. It is undisputed that Pastor Johnny and his wife own a house

in Florida; have been issued driver’s licenses by the State of Florida; are registered to vote in the

State of Florida; and have filed a sworn Declaration of Domicile in the State of Florida. Pastor

Johnny has produced documents establishing these facts to Guidepost, along with sworn

interrogatory responses stating that Florida is his domicile.

       But Guidepost refuses to accept these facts, and it is asking to go on a fishing expedition

through Pastor Johnny’s credit card statements. Guidepost has not provided any reasonable




                                                 11

Case 3:23-cv-00243          Document 119       Filed 02/09/24      Page 11 of 16 PageID #: 1572
explanation for why it should be able to root through Pastor Johnny’s spending habits under these

circumstances.

       A person’s domicile is “established by presence (residence) plus intent to remain

permanently or indefinitely.” Rayburn v. Anderson, 2021 U.S. Dist. LEXIS 1092, at *5 (M.D. Tenn.

Jan. 5, 2021). Courts generally consider several factors when determining a person’s domicile,

including “current residence; voting registration and voting practices; location of personal and real

property; location of brokerage and bank accounts; memberships in unions, fraternal organizations,

churches, clubs and other associations; place of employment or business; driver licenses and other

automobile registration; [and] payment of taxes.” Id. (quoting Caffey v. Home Depot, 2014 U.S.

Dist. LEXIS 60184, at *2-3 (M.D. Tenn. Apr. 28, 2014) (internal quotation marks omitted)).

       Pastor Johnny and his wife both reside in Florida; they consider Florida their primary home

and intend to return there when they are absent; they have Florida driver’s licenses; they have

registered to vote in Florida; they have filed documents with the State of Florida declaring their

domicile to be there; and they are members of a church in Florida. Even if there are documents

showing travel to and from Georgia (where they still have many family connections and own

additional property), such documents would not trump their subjective intent that Florida is their

domicile or the objective evidence supporting that intent.

       Guidepost’s request to obtain and scrutinize Pastor Johnny’s personal credit card statements

is an attempt to harass him; it is not intended to assess his domicile. The request should be denied.




       .




                                                 12

Case 3:23-cv-00243        Document 119        Filed 02/09/24      Page 12 of 16 PageID #: 1573
      Dated: February 9, 2024

                                     Respectfully submitted,

                                     s/ Andrew Goldstein with permission
                                     Todd G. Cole, Esq. (BPR # 031078)
                                     Andrew Goldstein, Esq. (BPR # 037042)
                                     COLE LAW GROUP, P.C.
                                     1648 Westgate Circle, Suite 301
                                     Brentwood, TN 37027
                                     Telephone: (615) 326-9059
                                     tcole@colelawgrouppc.com
                                     agoldstein@colelawgrouppc.com

                                     -and-

                                     Robert D. MacGill, Esq. (admitted pro hac vice)
                                     Scott E. Murray, Esq. (admitted pro hac vice)
                                     Patrick J. Sanders, Esq. (admitted pro hac vice)
                                     MACGILL PC
                                     156 E. Market St.
                                     Suite 1200
                                     Indianapolis, IN 46204
                                     Telephone: (317) 721-1253
                                     robert.macgill@macgilllaw.com
                                     scott.murray@macgilllaw.com
                                     patrick.sanders@macgilllaw.com

                                     Counsel for Plaintiff

                                     s/ Katharine R. Klein
                                     John R. Jacobson, BPR #14365
                                     Katharine R. Klein, BPR #19336
                                     Riley & Jacobson, PLC
                                     1906 West End Avenue
                                     Nashville, TN 37203
                                     (615) 320-3700
                                     (615) 320-3737 Facsimile
                                     jjacobson@rjfirm.com
                                     kklein@rjfirm.com


                                     -and-




                                       13

Case 3:23-cv-00243    Document 119   Filed 02/09/24     Page 13 of 16 PageID #: 1574
                                    Steven G. Mintz (admitted pro hac vice)
                                    Terence W. McCormick (admitted pro hac vice)
                                    Scott Klein (admitted pro hac vice)
                                    Mintz & Gold LLP
                                    600 Third Avenue
                                    25th Floor
                                    New York, NY 10016
                                    Telephone: (212) 696-4848
                                    mintz@mintzandgold.com
                                    mccormick@mintzandgold.com
                                    klein@mintzandgold.com

                                    Counsel for Defendant
                                    Guidepost Solutions LLC




                                      14

Case 3:23-cv-00243   Document 119   Filed 02/09/24   Page 14 of 16 PageID #: 1575
                                    CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing Joint Discovery
Dispute Statement to be electronically filed with the Clerk of the Court on February 9, 2024, using
the CM/ECF system, which will automatically serve all counsel of record listed below:


 Todd G. Cole, Esq. (BPR # 031078)                Scarlett Singleton Nokes, Esq.
 Andrew Goldstein, Esq. (BPR # 037042)            R. Brandon Bundren, Esq.
 COLE LAW GROUP, P.C.                             E. Todd Presnell
 1648 Westgate Circle, Suite 301                  BRADLEY ARANT BOULT CUMMINGS
 Brentwood, TN 37027                              LLP
 Telephone: (615) 326-9059                        1600 Division Street, Suite 700
 tcole@colelawgrouppc.com                         Nashville, Tennessee 37203
 agoldstein@colelawgrouppc.com                    Telephone: (615) 244-2582
                                                  snokes@bradley.com
 Robert D. MacGill, Esq. (Ind. Bar. 9989-49)      bbundren@bradley.com
 Scott E. Murray, Esq. (Ind. Bar. 26885-49)       tpresnell@bradley.com
 Patrick J. Sanders, Esq. (Ind. Bar. 36950-29)
 MACGILL PC                                       Gene R. Besen, Esq.
 156 E. Market St.                                BRADLEY ARANT BOULT CUMMINGS
 Suite 1200                                       LLP
 Indianapolis, IN 46204                           Fountain Place
 Telephone: (317) 721-1253                        1445 Ross Avenue, Suite 3600
 robert.macgill@macgilllaw.com                    Dallas, Texas 75202
 scott.murray@macgilllaw.com                      Telephone: (214) 257-9758
 patrick.sanders@macgilllaw.com                   gbesen@bradley.com

 Counsel for Plaintiff                            Thomas J. Hurney, Jr., Esq.
                                                  Gretchen M. Callas, Esq.
 John R. Jacobson, BPR #14365                     JACKSON KELLY PLLC
 Katharine R. Klein, BPR #19336                   500 Lee Street East, Suite 1600
 Riley & Jacobson, PLC                            Post Office Box 553
 1906 West End Avenue                             Charleston, West Virginia 25322
 Nashville, TN 37203                              Telephone: 304-340-1000
 (615) 320-3700                                   thurney@jacksonkelly.com
 (615) 320-3737 Facsimile                         gcallas@jacksonkelly.com
 jjacobson@rjfirm.com
 kklein@rjfirm.com                                Counsel for the Executive Committee of the
                                                  Southern Baptist Convention




                                                 15

Case 3:23-cv-00243       Document 119        Filed 02/09/24      Page 15 of 16 PageID #: 1576
 Steven G. Mintz (admitted pro hac vice)       L. Gino Marchetti, Jr., Esq.
 Terence W. McCormick (admitted pro hac        Matt C. Pietsch, Esq.
 vice)                                         TAYLOR, PIGUE, MARCHETTI & BLAIR,
 Scott Klein (admitted pro hac vice)           PLLC
 Mintz & Gold LLP                              2908 Poston Avenue
 600 Third Avenue                              Nashville, TN 37203
 25th Floor                                    Telephone: (615) 320-3225
 New York, NY 10016                            gmarchetti@tpmblaw.com
 Telephone: (212) 696-4848                     matt@tpmblaw.com
 mintz@mintzandgold.com
 mccormick@mintzandgold.com                    Counsel for the Southern Baptist Convention
 klein@mintzandgold.com

 Counsel for Defendant
 Guidepost Solutions LLC




                                                  s/ Katharine R. Klein




                                             16

Case 3:23-cv-00243     Document 119        Filed 02/09/24    Page 16 of 16 PageID #: 1577
